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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION

Case No. 17-cv-61416

18 GLOBAL CAPITAL LLC
Plaintiff/Counter-Defendant,
VS.

VOLT ELECTRICAL SYSTEMS LLC. & PAUL
JAMES BOUDREAUX JR, individually.

Defendants/Counter-Plaintiffs
/

 

DEFENDANTS/COUNTER-PLAINTIFFS’ MOTION FOR ENTRY OF DEFAULT
JUDGMENT AND INCORPORATED MEMORANDUM OF LAW

COMES NOW the Defendants/ Counter-Plaintiffs, VOLT ELECTRICAL SYSTEMS
LLC. & PAUL JAMES BOUDREAUX JR., individually (collectively the “Defendants”), by and
through their undersigned counsel and pursuant to Rule 55(b)(2) of the Federal Rules of Civil
Procedure, move this Court for entry of a default judgment as to Plaintiff/ Counter-Defendant, 1st
GLOBAL CAPITAL LLC (hereinafter “Plaintiff’), and in support thereof state as follows:

1. On May 26, 2017, Plaintiff filed a Complaint against Defendants in the Circuit
Court of the 17th Judicial Circuit, in and for Broward County, Florida. Defendants were served
on July 13, 2017, as evidenced by the Affidavits of Service filed herein.

2. On July 17, 2017, Defendants filed their Notice of Removal with this Court, along

with their Answer and Counterclaim.' As Plaintiffs counsel is admitted to practice in the Southern

 

' Defendants also filed an Amended Notice of Removal on July 21, 2017 due to a scrivener’s error in the original
Notice of Removal, but did not re-file their Answer and Counterclaim. As such, the Answer and Counter-Claim was
filed and properly served on July 17, 2017.

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District of Florida and is registered to receive electronic service of documents through the
CM/ECF system, Plaintiff was validly served with the Answer and Counterclaim on July 17, 2017
when the undersigned counsel filed same through the CM/ECF system.

3. Furthermore, Defendants filed the Notice of Removal in the original state court case
on July 17, 2017, so Plaintiff was well-aware of the pending Federal court proceedings.

4. Pursuant to Rule 12(a)(1)(B) of the Federal Rules of Civil Procedure, a party must
serve an answer to a counterclaim within 21 days of being served with the pleading. As such,
Plaintiff's response to the Counterclaim was due on August 7, 2017. To date, Plaintiff has failed
to serve an Answer to the Counterclaim.

5. As aresult, the undersigned counsel emailed Plaintiff's counsel on August 10, 2017
indicating that if an Answer was not filed by August 11, 2017, Defendants would proceed with a
Motion for Default. A true and accurate copy of the email exchange is attached hereto as Exhibit
“A”.

6. The Plaintiff's responded that they could not find a copy of the counterclaim and
thus, the undersigned counsel sent them a copy on August 17" and gave them until August 24" to
file a response. A true and accurate copy of the e-mail exchange is attached hereto as Exhibit
“BR.”

7. At no point did Plaintiff file a motion for extension of time with the Court and an
order was never entered extending Plaintiff's time to respond.

8. To date, Plaintiff has failed to serve an Answer to Defendants’ Counterclaim. As
such, this Court has authority to enter a Default Judgment pursuant to Rule 55(b)(2) of the Federal

Rules of Civil Procedure.

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MEMORANDUM OF LAW

Rule 55(a) of the Federal Rules of Civil Procedure provides that “[w]hen a party against
whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that
failure is shown by affidavit or otherwise, the clerk must enter the party’s default.” Subsection
(b)(2) empowers the Court to enter a default judgment upon a party’s application.

On a motion for default judgment pursuant to Rule 55(b)(2) of the Federal Rules of Civil
Procedure, the Court accepts the facts alleged in the complaint or counterclaim as true: “[t]he effect
of a default judgment is that the [plaintiff] admits the [defendant’s] well-pleaded allegations of
fact, is concluded on those facts by the judgment, and is barred from contesting on appeal the facts
thus established.” Buchanan v. Buchanan, 820 F. 2d 359, 361 (11th Cir. 1987); Ordonez v. Icon
Sky Holdings LLC, 2011 WL 3843890, at *1 (S.D. Fla. 2011) (citing Buchanan); United States v.
Unknown Executor, 2015 WL 11217228, at *1 (S.D. Fla. 2015) (citing Buchanan).

Because Plaintiff failed to response to Defendants’ Counter-Claim, this Court is
empowered to enter a default judgment pursuant to Rule 55(b)(2). Further, this Court should
accept the facts alleged in Defendants’ Counter-Claim as true and enter a final judgment granting
Defendants the relief sought in their Counter-Claim.

Specifically, by accepting the facts alleged in the Counter-Claim as true the contract at
issue rises to the level of criminal usury. See Paragraphs 11-29 and 44-49 of the Defendants’
Counterclaim. Pursuant to Florida Statute the loan in question rises to the level of criminal usury.
See Fla. Stat. $687.07. As such, the entire loan obligation is unenforceable and the Defendants
are entitled to forfeiture from the lender of any and all principal and interest actually paid by the
borrower to the lender under the usurious loan. See Matter of Offshore Development Corp, 37

B.R. 96 (Bankr.M.D.Fla. 1984), aff'd, Beausejour Corp. N.V. v. Offshore Development Co., Inc.

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802 F.2d 1319 (11™ Cir. 1986) (finding criminally usurious agreement was unenforceable and
entitled borrower to judgment in its favor for monies paid under the agreement).

Further, Defendants have alleged Plaintiff violated Florida Statutes §501.201 et seq., and
more commonly referred to as the Florida Deceptive and Unfair Trade Practices Act (hereinafter
FDUTPA). Accepting the allegations has true Plaintiff has violated FDUTPA and
Defendants/Counter-Plaintiffs are entitled to all of their fees and costs pursuant to §501.2105.

WHEREFORE, Defendants/Counter-Piaintifts respectfully request this Court enter
a judgment of default against Plaintiff as provided in the proposed Final Judgment filed

contemporaneously with this Motion.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the ui day of olember 2017, I
electronically filed the foregoing with the Clerk of (Courts by using the CM/ECF System which
will send a notice of electronic filing to: Steven ZakHaryayev, Steven@1stglobalcapital.com, 1250
E. Hallandale Beach Blvd., Suite 409, Hallandale Beach FL, 33009.

 

 

 

KEERSTEN HESKIN MARTINEZ

Florida Bar No. 77021

AVERY F. DAWKINS

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Attorneys for Defendants/Counter-Plaintiffs

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EXHIBIT “A”
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Cc: Keersten Martinez <kmartinez@heskinmartinezlaw.com>; Roxanne Young

<office@heskinmartinezlaw.com>
Subject: ist Global Capital LLC v. Volt Electrical Systems LLC & Paul James Boudreaux Jr.

Hi Steven,

| am following up on the status of your Answer to our Counter-Claim in the above-named case. Our
Answer and Counter-Claim was filed on July 17, 2017. As such, you Answer was due on Monday, August
7, 2017. If we do not receive your Answer by Friday, August 11", we will proceed with filing a Motion
for Default. Please advise.

Best regards,
Avery

Avery F. Dawkins, Esq.

The Heskin Martinez Law Group
800 N. Magnolia Avenue

Suite 1500

Orlando, Florida 32803

Phone 407.403.5990

Direct 407.757.2897
ADawkins@Heskinmartinezlaw.com

 

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EXHIBIT “B”
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From: Keersten Martinez <kmartinez@heskinmartinezlaw.com>

Date: Thursday, August 17, 2017 at 10:29 AM

To: Yvonne Novoa <yvonne@1stglobalcapital.com>, Avery Dawkins
<adawkins@heskinmartinezlaw.com>

Cc: Roxanne Young <office@heskinmartinezlaw.com>

Subject: RE: 1st Global Capital LLC v. Volt Electrical Systems LLC & Paul James Boudreaux Jr.

Attached is the answer and counterclaim that was filed in the Federal Court action on July 17". Thus, a
response is way past due. | am concerned the Court will issue an order to show cause shortly for me not
pursuing so cannot give you 30 days. The longest | can give is until next Friday to respond. If he would
like to discuss resolution | am open to that also but it would need to be done quickly.

As for why you didn’t receive, It was electronically served in the Federal case. Mr. Zakharyayev is
admitted and signed up for electronic service so it was validly served.

Keersten Heskin Martinez, Esq

Board Certified Marital and Family Law Specialist
The Heskin Martinez Law Group

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- 4. MARITALS
FAMILY LAW

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issues, please contact the sender.

From: Yvonne Novoa [mailto:yvonne@1stglobalcapital.com]

Sent: Friday, August 11, 2017 1:41 PM

To: dawkins@heskinmartinezlaw.com

Cc: Keersten Martinez <kmartinez@heskinmartinezlaw.com>; Roxanne Young

<office@heskinmartinezlaw.com>
Subject: RE: 1st Global Capital LLC v. Volt Electrical Systems LLC & Paul James Boudreaux Jr.

Good afternoon:

Upon reviewing the docket we do not see a Counter-Claim was filed. However, A Notice of Filing/Notice
of Removal to Federal Court was docketed on 7.21.17.

07/17/2017 Notice of Filing/Notice of Removal to Federal Court
07/18/2017 Notice of Filing/Notice of Removal to Federal Court
07/21/2017 Notice of Filing/Notice of Removal to Federal Court

Comment (NOTICE OF FILING AMENDED NOTICE OF REMOVAL )

If a Counter-Claim was filed, please forward same and let us know if we can enter into an Agreed Order
allowing us 30 days to respond

Thank you
Yvonne

From: Steven Zakharyayev

Sent: Friday, August 11, 2017 1:36 PM

To: Yvonne Novoa <yvonne@1stglobalcapital.com>

Subject: FW: 1st Global Capital LLC v. Volt Electrical Systems LLC & Paul James Boudreaux Jr.

From: Avery Dawkins [mailto:adawkins@heskinmartinezlaw.com]
Sent: Thursday, August 10, 2017 1:25 PM
To: steven@floridaloanlawyers.com; Steven Zakharyayev <steven@1stglobalcapital.com>
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION

Case No. 17-cv-61416

15™ GLOBAL CAPITAL LLC
Plaintiff/Counter-Defendant,

VS.

VOLT ELECTRICAL SYSTEMS LLC. & PAUL
JAMES BOUDREAUX JR, individually.

Defendants/Counter-Plaintiffs
/

 

FINAL JUDGMENT

The Plaintiff/ Counter-Defendant, 1st GLOBAL CAPITAL LLC, having failed to plead or
otherwise respond to the Defendants/ Counter Plaintiffs’, VOLT ELECTRICAL SYSTEMS LLC.
& PAUL JAMES BOUDREAUX JR., individually (collectively, “Defendants”) Counterclaim,
upon Defendants’ Motion for Entry of Default Judgment, this Court FINDS that Plaintiff has
defaulted pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure. It is hereby

ORDERED AND ADJUDGED as follows:

1. Plaintiff's Loan Agreement is void as criminally usurious. The Loan Agreement
and any related documents shall be cancelled as of the date of this Judgment.

Ds Plaintiff is barred from recovering any remaining installments due from Defendants
under the Loan Agreement.

Ds Within 10 days of this Judgment, Plaintiff shall reimburse Defendants for all
principal and interest payments made by Defendants to date.

4. Defendants are entitled to a declaratory judgment in their favor pursuant to section

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86.011, Florida Statutes.
De Defendants shall be awarded damages equal to twice the amount of interest
Defendants have paid Plaintiffs to date. Further, Plaintiffs shall pay Defendants’ reasonable

attorney’s fees and costs.

DONE AND ORDERED this day of 2017.

 

Hon. WILLIAM P. DIMITROULEAS
United States District Judge

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